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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

THE UNITED STATES OF AMERICA §
                             §
vs.                          §                         CAUSE NO.: 1:21-CR-378
                             §
PAUL RAE                     §


                              JOINT MOTION TO WITHDRAW

TO THE HONORABLE JUDGE OF SAID COURT:

      COME NOW, PHILLIP A. LINDER and JAMES LEE BRIGHT, Attorneys of Record for

Paul Rae and respectfully request leave of the Court to withdraw as counsel for Defendant, and in

support would respectfully show thereof:

                                                 I.

         Attorneys, Phillip Linder and James Lee Bright, were hired to represent Paul Rae in his

criminal case in Federal District Court in December 2022. Defendant has breached the contractual

agreement for fees for services rendered by Defendant’s counsel in connection with this case. In

addition, Counsel for Defendant and defendant have been unable to effectively communicate

regarding his pending criminal case. Defendant has failed to return any of the emails, texts or

phone calls made by Phillip Linder and James Lee Bright in almost two months.

                                                 II.

         Counsel has notified the Defendant of their intent to withdraw via email. The Defendant

has not responded to any emails, calls, or text from our offices.


         WHEREFORE, PREMISES CONSIDERED, Defendant’s counsel prays that this

Honorable Court allow his withdrawal, and that present counsel be released from further obligation

or duty to the Defendant as Attorneys of Record and that this court appoint the Public Defender’s

Office to represent him going forward.


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                                              RESPECTFULLY SUBMITTED,

                                               s// Phillip A. Linder
                                              PHILLIP A. LINDER
                                              ATTORNEY FOR DEFENDANT

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                                              DALLAS, TEXAS 75219
                                              STATE BAR #12363560
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                                                 /S/ JAMES LEE BRIGHT
                                              JAMES LEE BRIGHT

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                                              DALLAS, TEXAS 75219
                                              TEL: (214) 720-7777
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                                              JLBRIGHTLAW@GMAIL.COM
                                              TEXAS BAR NO : 24001786



                              CERTIFICATE OF CONFERENCE

         I, Phillip Linder, hereby certify that on August 16, 2023, I conferred with AUSA, Jason

McCullogh, on the above-referenced Motion to Withdraw and he indicated he objected to this

Motion to Withdraw unless and until replacement counsel enters an appearance.

                                                      s// Phillip A. Linder      _
                                                     PHILLIP A. LINDER



                                 CERTIFICATE OF SERVICE

         On this 17th day of August 2023, a true and correct copy of the foregoing Motion to

Withdraw was delivered to Jason McCullogh, Assistant United States Attorney, via ECF.



                                                      s// Phillip A. Linder       _
                                                     PHILLIP A. LINDER


MOTION TO WITHDRAW- P. RAE                                                                     2
